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                        Exhibit L
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    Port Authority of NY & NJ                 Building the Region      Commuting & Traveling     Transporting Cargo



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         Driving Directions

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